       Case 3:21-cr-00036-SMR-SBJ Document 39 Filed 10/06/21 Page 1 of 1


                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )
                         vs.                   )   CASE NO. 3:21-cr-00036
                                               )
TONY WILLIAMS                                  )
a/k/a FATBOY,                                  )
                                               )
                       Defendant.              )

       REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

           The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant entered a

plea of guilty to Count 1, Count 2, and Count 3 of the Indictment pursuant to Federal Rule of

Criminal Procedure 11(c)(1)(C). After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea was knowing

and voluntary as to the counts, and that the offenses charged are supported by an independent factual

basis concerning each of the essential elements of such offenses. Defendant understands and agrees

to be bound by the terms of the Plea Agreement. I further determine the United States of America

has established the requisite nexus between the offenses and the property it seeks in forfeiture. I,

therefore, recommend that the plea of guilty be accepted, that a pre-sentence investigation and report

be prepared, and that the Defendant be adjudged guilty and have sentence imposed accordingly.



_________October 6, 2021_________              __________________________________________
Date                                                  STEPHEN B. JACKSON, JR.
                                                  UNITED STATES MAGISTRATE JUDGE

                                              NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from
the date of its service shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
